From:                Elections Internet
To:                  Elections Internet
Subject:             MASS EMAIL (EA/VR-683) -- Notice To Counties Regarding Test Data In TEAM
Date:                Monday, March 11, 2019 4:36:45 PM
Attachments:         image001.png
Sensitivity:         Personal


Dear County Officials,

We would like to inform you that your office may have received some list maintenance files this
morning in error. These files should not have been sent to your county. Working through our
vendor, we were in the process of running data in our test environment; however, due to a technical
error, it inadvertently got pushed out into production.

For online counties, the dashboard activities related to these files were immediately removed. For
offline counties receiving a voter export file, we ask that you completely disregard the file. Please do
not move forward in working with that data at this time.

If you have any additional questions, please do not hesitate to contact our office at (512)262-8683
or at Elections@sos.texas.gov.



Keith Ingram
Director, Elections Division
Office of the Secretary of State
800-252-VOTE(8683)
www.sos.state.tx.us/elections/index.shtml
For Voter Related Information, please visit:




The information contained in this email is intended to provide advice and assistance in election matters per §31.004 of the
Texas Election Code. It is not intended to serve as a legal opinion for any matter. Please review the law yourself, and
consult with an attorney when your legal rights are involved.
